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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                             SEALED INDICTMENT

                       V.                             23 Cr.

 DARIUS A. PADUCH,

                            Defendant.
                                                                                 l
       The Grand Jury charges:

                                           OVERVIEW

       1.     As set forth herein, over the course of several years, DARIUS A. P ADU CH, the

defendant, sexually abused and assaulted multiple male patients, including minor male patients,

while conducting purported urological examinations in his capacity as a medical doctor employed

by a prestigious medical institution in New York, New York ("Medical Institution-1 ").

       2.     In particular, from at least in or about 2015 through at least in or about 2019,

DARIUS A. P ADU CH, the defendant, while working as a urologist, enticed and induced multiple

victims to travel to his medical offices at Medical Institution-1, so PADU CH could, among other

things, sexually abuse and assault the victims. In or about 2019, PADUCH began practicing at a

different hospital located in Long Island, New York ("Medical Institution-2"), where he continued

to sexually abuse and assault victims. PADU CH used his position as a urologist at prominent

medical institutions in New York, to make or attempt to make the victims believe that the sexual

abuse and assault he inflicted on them was medically necessary and appropriate. P ADU CH often

directed the victims to schedule follow-up visits, and he instructed victims to return to see him

again. As a result, some of the victims attended many appointments with P ADU CH over the

course of multiple years, at which PADU CH repeatedly abused and assaulted them.
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       3.        As a part and in furtherance of his scheme, DARIUS A. PADUCH, the defendant,

enticed, induced, and caused certain minor victims to return to appointments with him to be further

sexually abused and assaulted, knowing that in order to do so, those minor victims would travel to

PADUCH's offices at Medical Institution-1 in New York, New York, from or through other states.

       4.        In addition, as a part and in furtherance of his scheme, DARIUS A. PADUCH, the

defendant, used a telephone and other means of interstate commerce to entice, induce, and cause

victims, including minor victims, to return to appointments with him to be further sexually abused

and assaulted.

                                   FACTUAL BACKGROUND

       5.        From at least in or about 2003 through in or about 2023, DARIUS A. PADUCH,

the defendant, worked in New York as a practicing urologist, specializing in male infertility and

andrology (i.e., male reproductive health). Specifically, from at least in or about 2003 through at

least in or about April 2019, P ADU CH worked at Medical Institution-1 as a medical doctor. Then

from in or about 2019 until in or about 2023, PADUCH worked at Medical Institution-2 as a

medical doctor.

       6.        From at least in or about 2015 through in or about 2019, DARIUS A. PADUCH,

the defendant, abused and assaulted multiple victims, including minor victims, who went to

PADU CH for medical care. PADU CH did so in the course of providing these victims with

purportedly necessary and appropriate medical treatment.        During appointments, PADU CH

claimed that he needed to touch victims in certain ways to provide medical treatment, when in fact,

PADU CH sexually abused and assaulted those victims for no legitimate medical purpose and for

his own sexual gratification.



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        7.     In particular, DARIUS A. PADUCH, the defendant, typically used the following

means and methods, among others, to carry out his abuse and assault:

               a.      Although at times nurses, assistants, and minor victims' parents were

present for portions of PADUCH's appointments with victims, PADUCH typically conducted

physical examinations of victims without anyone else in the room.

               b.      Once alone with victims, P ADUCH directed them to masturbate in his

presence. P ADU CH also often played pornography while watching victims masturbate at his

direction.

               c.      PADUCH frequently insisted on masturbating the victims himself by

grabbing their penises and stimulating their genitalia with his hands or a vibrating instrument that

certain victims understood to be a sex toy, in order to induce an erection and/or ejaculation.

               d.      PADUCH frequently touched and masturbated victims' genitalia without

warning and without wearing gloves. While masturbating the victims, PADUCH often stood very

close to the victims, and at times, he pressed himself against them, groped them, and/or caressed

them. Certain victims observed and/or felt that P ADU CH was aroused when masturbating them.

               e.      PADUCH often directed victims to orgasm and ejaculate in his presence

without any valid medical purpose, and he rarely provided such victims with a specimen cup, or

other receptacle, to collect a sample of ejaculate.

               f.      In several instances, PADUCH penetrated victims' rectums with his fingers,

without gloves, and while masturbating them for no legitimate medical purpose.

               g.      During appointments, P ADUCH frequently initiated conversations with

victims about their sexual activity, physical appearance, and physiques, including the length or

size of their penises. Such discussions had no bearing on medical treatment. In the same manner,
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PADUCH volunteered intimate information about his own sexual activity, sexual history, and

sexual orientation, which also had no bearing on medical treatment or any other legitimate medical

purpose.

                 h.     Under the guise of medical care, P ADU CH at times offered unsolicited

critiques of victims ' masturbation techniques- telling them in sum and substance that they were

masturbating incorrectly-and grabbed their penises, purportedly to show the victims how to

masturbate properly.

       8.        To ensure that he could continue to sexually abuse and assault victims, DARIUS

A. PADUCH, the defendant, took various steps to cause, induce, and entice certain victims to

return to see him, knowing that certain victims would have to travel from or through other states

to attend appointments with him, including appointments at which PADU CH sexually abused and

assaulted those victims . PADUCH induced certain victims to travel into New York from or

through other states by using various means and methods, including but not limited to the

following:

                 a.     P ADU CH selected how frequently and when a victim would have

appointments with him, often directing victims to schedule follow-up appointments at a particular

time interval.

                 b.     After appointments, P ADU CH sent victims-including minor victims-

text messages from his personal cellphone. In those messages, he made inappropriate and sexual

comments and jokes, and he directed the victims to schedule follow-up appointments or even to

visit his office after regular business hours.

                 c.     When P ADU CH caused and enticed certain minor victims to return for

follow-up appointments, he knew that they had to travel from or through a state other than New
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York to attend their appointments in New York, New York.

                                    INDIVIDUAL VICTIMS

       9.      DARIUS A. PADUCH, the defendant, sexually abused and assaulted multiple

victims, including but not limited to two minor male patients identified herein as Minor Victim-I

and Minor Victim-2. In particular and during periods relevant to this Indictment, PADU CH

engaged in the following acts, among others, with respect to these victims:

                                         Minor Victim- I

       10.     Minor Victim-I was a patient of DARIUS A. PADUCH, the defendant, from at

least in or about 2015 through at least in or about 2017. During the entire time Minor Victim-I

was PADUCH' s patient, Minor Victim-I lived outside the state of New York and thus traveled

from another state into New York for appointments with PADUCH. PADUCH knew that Minor

Victim-I traveled from another state for his appointments.

       11 .    DARIUS A. PADU CH, the defendant, knew that Minor Victim- I was under the

age of 18 when Minor Victim-I became PADUCH' s patient.

       12.     After turning 18, Minor Victim- I continued to travel to New York for appointments

with PADU CH, during which PADU CH sexually abused and assaulted Minor Victim- I.

       13.     During appointments, including while Minor Victim- I was under the age of 18,

DARIUS A. PADU CH, the defendant, repeatedly sexually abused and assaulted Minor Victim-I

through a course of conduct that lacked any valid medical purpose. During multiple appointments

with Minor Victim- I , PADU CH played pornography and used his ungloved hand to masturbate

Minor Victim-I until Minor Victim-I ejaculated. On at least one such occasion, after Minor

Victim-I ejaculated, PADUCH smeared Minor Victim-1 ' s ejaculate on Minor Victim-1' s mouth

and expressed incredulity that Minor Victim- I had never tasted his own semen.

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       14.     During at least one appointment while Minor Victim-I was under the age of 18,

DARIUS A. PADUCH, the defendant, inserted his finger into Minor Victim-1 ' s rectum for no

valid medical purpose.

       15.     During appointments with Minor Victim-I , DARIUS A. PADUCH, the defendant,

routinely recommended that Minor Victim- I's parent exit the examination room before PADUCH

abused and assaulted Minor Victim-I.

       16.     After Minor Victim-l ' s first appointment with DARIUS A. PADUCH, the

defendant- including when Minor Victim-I was under the age of 18- PADU CH used a telephone

to direct Minor Victim- I to return for additional appointments, during which PADU CH sexually

abused and assaulted Minor Victim-I.

                                         Minor Victim-2

       17.     Minor Victim-2 was a patient of DARIUS A. PADUCH, the defendant, from at

least in or about 2015 through at least in or about 2022. Throughout the entire time Minor Victim-

2 was PADUCH' s patient, Minor Victim-2 lived outside the state of New York. As a result, Minor

Victim-2 traveled from out of state into New York for appointments with PADUCH. PADUCH

knew that Minor Victim-2 traveled from another state into New York for his appointments.

       18.     DARIUS A. PADUCH, the defendant, knew that Minor Victim-2 was under the

age of 18 when Minor Victim-2 first became PADUCH' s patient.

       19.     After turning 18, Minor Victim-2 continued to travel to New York for appointments

with PADU CH, during which PADUCH sexually abused and assaulted Minor Victim-2.

       20.     During these appointments, including while Minor Victim-2 was under the age of

18, DARIUS A. PADU CH, the defendant, repeatedly sexually abused and assaulted Minor Victim-

2 through a course of conduct that lacked any valid medical purpose. For example, over the course
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of years, Minor Victim-2 went to PADUCH for regular appointments at which PADUCH routinely

directed Minor Victim-2 to strip naked and used his ungloved hand to masturbate Minor Victim-2

until Minor Victim-2 ejaculated. Although Minor Victim-2 ' s parents accompanied Minor Victim-

2 to appointments, PADUCH sexually abused and assaulted Minor Victim-2 only when Minor

Victim-2 ' s parents were not present in the examination room.

       21.     During multiple appointments, DARIUS A. PADUCH, the defendant, conducted a

medically unnecessary "rectal exam" of Minor Victim-2.

       22.     After Minor Victim-2 ' s first appointment with DARIUS A. PADUCH, the

defendant- including when Minor Victim-2 was under the age of 18- PADUCH used a telephone

to direct Minor Victim-2 to return for additional appointments, during which P ADU CH sexually

abused and assaulted Minor Victim-2.

                                  STATUTORY ALLEGATIONS

                                       COUNT ONE
                (Inducement to Travel to Engage in Unlawful Sexual Activity)
                                     (Minor Victim-1)

       The Grand Jury further charges:

       23 .    The allegations contained in paragraphs 1 through 22 of this Indictment are

repeated and realleged as if fully set forth within.

       24.     From at least in or about 2015 through at least in or about 2017, in the Southern

District of New York and elsewhere, DARIUS A. PADUCH, the defendant, knowingly persuaded,

induced, enticed, and coerced an individual to travel in interstate and foreign commerce to engage

in sexual activity for which a person can be charged with a criminal offense, and attempted to do

the same, to wit, PADU CH induced and enticed Minor Victim-I to travel to New York, New York,

from a state outside of New York, to engage or attempted to engage in unlawful sexual activity

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with Minor Victim-I, in violation ofNew York Penal Law Sections 130.52, and 130.55.

                      (Title 18, United States Code, Sections 2422(a) and 2.)

                                       COUNT TWO
                (Inducement to Travel to Engage in Unlawful Sexual Activity)
                                     (Minor Victim-2)

       The Grand Jury further charges:

       25.     The allegations contained in paragraphs 1 through 22 of this Indictment are

repeated and realleged as if fully set forth within.

       26.     From at least in or about 2015 through at least in or about 2019, in the Southern

District of New York and elsewhere, DARIUS A. P ADU CH, the defendant, knowingly persuaded,

induced, enticed, and coerced an individual to travel in interstate and foreign commerce to engage

in sexual activity for which a person can be charged with a criminal offense, and attempted to do

the same, to wit, PADUCH induced and enticed Minor Victim-2 to travel to New York, New York,

from a state outside of New York, to engage or attempt to engage in unlawful sexual activity with

Minor Victim-2, in violation of New York Penal Law Sections 130.52, and 130.55.

                      (Title 18, United States Code, Sections 2422(a) and 2.)

                                    COUNT THREE
               (Inducement of a Minor to Engage in Unlawful Sexual Activity)
                                    (Minor Victim-1)

       The Grand Jury further charges:

        27.    The allegations contained in paragraphs 1 through 22 of this Indictment are

repeated and realleged as if fully set forth within.

        28.    From at least in or about 2015 through at least in or about 2016, in the Southern

District of New York and elsewhere, DARIUS A. PADUCH, the defendant, using a facility and

means of interstate and foreign commerce, knowingly persuaded, induced, enticed, and coerced

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an individual who had not attained the age of 18 years to engage in sexual activity for which a

person can be charged with a criminal offense, and attempted to do so, to wit, PADUCH used

computers and telephones to communicate with Minor Victim- I to engage or attempt to engage in

unlawful sexual activity with Minor Victim-I , in violation of New York Penal Law Sections

130.52 and 130.55.

                      (Title 18, United States Code, Sections 2422(b) and 2.)

                                          COUNT FOUR
                 (Enticing a Minor to Engage in an Unlawful Sexual Activity)
                                      (Minor Victim-2)

       The Grand Jury further charges:

        29.    The allegations contained in paragraphs 1 through 22 of this Indictment are

repeated and realleged as if fully set forth within.

       30.     From at least in or about 2015 through at least in or about 2019, in the Southern

District of New York and elsewhere, DARIUS A. PADUCH, the defendant, using a facility and

means of interstate and foreign commerce, knowingly persuaded, induced, enticed, and coerced

an individual who had not attained the age of 18 years to engage in sexual activity for which a

person can be charged with a criminal offense, and attempted to do so, to wit, P ADU CH used

computers and telephones to communicate with Minor Victim-2 to engage in unlawful sexual

activity with Minor Victim-2, in violation of New York Penal Law Sections 130.52 and 130.55.

                      (Title 18, United States Code, Sections 2422(b) and 2.)

                                  FORFEITURE ALLEGATIONS

        31.     As a result of committing the offenses alleged in Counts One through Four of this

Indictment, DARIUS A. PADUCH, the defendant, shall forfeit to the United States, pursuant to

Title 18, United States Code, Section 2428, any and all property, real and personal, constituting or

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derived from proceeds obtained, directly or indirectly, as a result of said offenses; and any and all

property, real or personal, that was used or intended to be used to commit or facilitation the

commission of said offenses, including but not limited to a sum of money in United States currency

representing the amount of property involved in said offenses and proceeds traceable to the

commission of said offenses.

                                    Substitute Asset Provision

       32.     If any of the above-described forfeitable property, as a result of any act or omission

of the defendant:

                    (a) cannot be located upon the exercise of due diligence;

                    (b) has been transferred or sold to, or deposited with, a third person;

                    (c) has been placed beyond the jurisdiction of the Court;

                    (d) has been substantially diminished in value; or

                    (e) has been commingled with other property which cannot be subdivided

                    without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c), to

seek forfeiture of any other property of said defendant up to the value of the above forfeitable

property.

  (Title 18, United States Code, Sections 981, 2428; Title 21 , United States Code, Section 853;
                         and Title 28, United States Code, Section 2461.)



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                                                                  DAMIAN WILLIAMS
                                                                  United States Attorney



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